              Case 09-10138-MFW       Doc 16443-1      Filed 01/04/16   Page 1 of 1




                                           EXHIBIT A

                                NORTEL NETWORKS INC., et al.
                                   CASE NO. 09-10138 (KG)

                                  Professional Fees and Expenses
                                     Monthly Fee Application



 Applicant &      Time Period       Fees &        Fees & Expenses     Date        Objection
 Docket No.         Covered        Expenses       Allowed/Awarded   Application   Deadline
                                  Requested in                        Filed
                                  Application

Cassels Brock      10/1/15 -     CDN$182,347.75   CDN$145,878.20     11/30/15         12/21/15
& Blackwell        10/31/15          (Fees)        (Fees @ 80%)
LLP
                                   CDN$345.51       CDN$345.51
[Docket No.                         (Expenses)      (Expenses @
16345]                                                 100%)
